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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                       C A SE N O .17-CV-24203-GA YLES/O TA ZO -M YES

  M ARIA LARIN,and a11others
  similarly situatedunder29U.S.C.216(b),
        Plaintiff,



  LO VIN G HEA RT HO M E H EA LTH
  CARE,lNC.,JOAQUW MARQUEZ,
  and,SONIA MARQUEZ,
        D efendants.
                                        /



        THIS CAUSE camebeforetheCourtupon PlaintiffM ariaLarin'sCiplaintiff')Noticeof
  Hearing Beforethe HonorableM agistrate JudgeAlicia Otazo-Reyes(D.E.32)and Defendants
  Loving HeartHome Health Care,lnc.,Joaquin M arquez,and SoniaM arquez's(stDefendants'')
  Notice ofDiscovery Hearing BeforeM agistrateJudge Otazo-Reyes(D.E.381. These matters
  were referred to undersigned pursuantto 28 U.S.C.j 636 by the Honorable Darrin P.Gayles,
  United StatesDistrictJudge (D.E.221. The undersigned held a hearing on these matters on
  M arch 1,2018.In accordancewith theundersigned'srulingsatthehearing,itis

        OR DER ED A N D AD JUD G ED as follow s:

               Defendants' response to Plaintiffs Requests for Adm ission is deem ed to have

               been timely fsled.ThereforetheRequestsarenotdeem ed admitted.

           > Defendants'responses to Plaintiffs FirstRequestfor Production and First Setof

               Interrogatories are deemed timely filed. Therefore Dtfendants'objections to
               thesediscovery requestsarenotdeemed waived.
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               Defendants shall supplementtheir answer to Interrogatory No.6 by providing

               supplierinformation fornam etags,uniform s,and any othersuppliesthatPlaintiff

               claimswereprovided to her.

           >' Defendants'objectionsto RequestsforProduction Nos.1,2,and 3aresustained,
               subjecttoDefendantspromptlyansweringaninterrogatoryastohow otherpatient
               attendantswerepaid (1099sand W -2s).
               Defendants shallsupplementtheirresponse to Requestfor Production No.6 to

               state thatthere areno such contracts,asrepresented atthehearing.

           > Defendants shallsupplem enttheirresponse to RequestforProduction No.79 by

              providingtheiroccupationallicensets)andM edicare/M edicaidprovidernumbers.
        DON E AND ORDERED in Chambersin M iami,Floridathis IJvdayofMarch, 2018.


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                                                                 yz
                                            A LICIA M .OTA -1kE S
                                            UNITED STATES M AGISTM TE JUDGE

  cc:   United StatesDistrictJudge Darrin P.Gayles
        CounselofRecord
